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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN


      UNITED STATES OF AMERICA, ex rel.
      DAVID FELTEN, M.D., Ph.D., and
      STATE OF MICHIGAN, ex rel. DAVID
      FELTEN, M.D., Ph.D
                                                    Civil Action No. 2:10-cv-13440
      Plaintiff-Relator,                            Jury Trial Demanded

      v.

      WILLIAM BEAUMONT HOSPITALS,

      Defendant.


                       FIRST AMENDMENT TO COMPLAINT

           Plaintiff-Relator David L. Felten (hereinafter, “Relator” or “Dr. Felten”)

 hereby files the First Amendment to his Complaint.

                                    INTRODUCTION

 1.        Eight years ago, on August 30, 2010, Dr. Felten filed this action under seal,

 alleging violations of the False Claims Act (“FCA”), 31 U.S.C. § 3729 et seq., the

 Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b)(1)-(1), the Michigan Medicaid

 False Claim Act, M.C.L. 400.601 et seq. (“Michigan FCA”), and the provisions of

 those statutes that protect those who expose fraud against the government from
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 retaliation, see 31 U.S.C. § 3730(h), M.C.L. § 400.610c. In this First Amendment,

 Relator refers to the complaint that initiated this action as the Original Complaint.

 2.    In his Original Complaint, Dr. Felten alleged that Defendant William

 Beaumont Hospitals (“Beaumont”), a system of healthcare and research facilities

 in Southeast Michigan, engaged in a fraudulent and illegal kickback scheme to

 enrich itself at the public’s expense, in violation of the FCA, the Michigan FCA,

 and other applicable law.

 3.    On July 31, 2018, Beaumont entered into a settlement agreement with Dr.

 Felten, the United States of America, the State of Michigan, and others.

 4.    In exchange for dismissal of the FCA and Michigan FCA claims that

 comprised Counts I and II of Dr. Felten’s Original Complaint, Beaumont agreed to

 pay approximately $84.5 million to the United States and Michigan governments.

 5.    As a result of that settlement agreement, the United States and Michigan

 governments dismissed Counts I and II of the Original Complaint.

 6.    Dr. Felten now wishes to prosecute Counts III and IV of the Complaint,

 which allege claims for unlawful retaliation in violation of the anti-retaliation

 provisions of the False Claims Act, see 31 U.S.C. § 3730(h), and Michigan False

 Claims Act, see M.C.L. § 400.610c.

 7.    The purpose of this First Amendment is to bring current the retaliation Dr.


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 Felten suffered as a result of reporting Beaumont’s unlawful conduct.

                   SUMMARY OF RETALIATION CLAIMS

 8.    Prior to his suspension and termination, Dr. Felten served as Beaumont’s

 Vice President for Research and Medical Director of the Research Institute, as well

 as Associate Dean for Research at the Oakland School of Medicine, which is

 associated with Beaumont.

 9.    Beginning around 2006, Dr. Felten observed and consistently reported to

 various representatives of Beaumont what he perceived to be fraud, waste, and

 potentially illegal misconduct within Beaumont.

 10.   For some time, Beaumont executives assured Dr. Felten that the misconduct

 he had reported was being addressed.

 11.   But a 2009 report by an outside auditor (“FTI”) confirmed that Beaumont’s

 staff, administration, and employees were still engaged in many of the same types

 of misconduct Dr. Felten had identified.

 12.   Moreover, Dr. Felten discovered through his own investigation there

 appeared to be other serious violations of federal law at Beaumont.




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 13.   More detailed accounts of the types of unlawful conduct Dr. Felten

 uncovered and reported are set forth in the August 30, 2010 Complaint, Dkt. 1

 (“Original Complaint”). 1

 14.   Dr. Felten alerted Beaumont’s executives repeatedly and throughout his

 tenure about the unlawful conduct he observed.

 15.   Despite the FTI report and Dr. Felten’s ongoing efforts to persuade

 Beaumont leadership to correct the many fraudulent schemes, it became clear to

 Dr. Felten that Beaumont had no intention of correcting its misconduct.

 16.   In August 2010, Dr. Felten filed this lawsuit.

 17.   In the spring of 2011, the United States issued a civil investigative demand

 for documents to Beaumont, making Beaumont aware that the United States was

 investigating some of the misconduct Dr. Felten had reported.

 18.   Once they realized that Beaumont personnel were cooperating with the

 federal government, Beaumont administration engaged in a campaign to, in their

 words, “find the snitch” and “eliminate the mole.”




       1
        See, e.g., Original Complaint at ¶¶149 – 208 (Illegal Incentives); ¶¶ 209 –
 237 (Cost Reporting Fraud); ¶¶ 238 – 322 (Research Fraud); and ¶¶ 323 – 342 (Theft
 of Government IP).

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 19.   By late 2012, Beaumont had likely identified Dr. Felten as the “snitch.” Dr.

 Felten’s privileged, personal gmail communications dating from that period with

 his FCA counsel were later discovered in Beaumont’s possession. Beaumont

 could not have accessed these emails without searching Dr. Felten’s personal

 possessions or personal account.

 20.   In October 2012, Beaumont leadership decided to force out Dr. Felten by

 generating pretextual bases for his termination.

 21.   First, Beaumont’s Chief Medical Officer falsely suggested that an internal

 report indicated Dr. Felten should be replaced. But the report actually commended

 Dr. Felten on his excellent performance.

 22.   Second, Beaumont’s leadership falsely represented to Dr. Felten that he was

 subject to a mandatory retirement policy at age sixty-five.

 23.   Based upon these false pretenses, Beaumont suspended Dr. Felten shortly

 after his sixty-fifth birthday and terminated him in 2014.

 24.   Beaumont marginalized, suspended, and ultimately terminated Dr. Felten in

 retaliation for his reporting of its unlawful activities and filing of this

 whistleblower action.

 25.   Upon information and belief, Beaumont also interfered with Dr. Felten’s

 ability to obtain substitute employment and mitigate his damages by maligning Dr.


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 Felten to multiple research institutions across North America, thereby deterring

 these institutions from hiring Dr. Felten and depriving Dr. Felten of opportunities

 which would otherwise have been available to him.

 26.   Dr. Felten seeks to recover the damages he suffered as a result of

 Beaumont’s retaliation against him for reporting its misconduct.

                           JURISDICTION AND VENUE

 27.   This Court has jurisdiction over this action under 31 U.S.C. § 3732. This

 Court also has jurisdiction under 28 U.S.C. § 1331 because this action arises under

 the laws of the United States.

 28.   This Court has supplemental jurisdiction over all other claims set forth in

 this Complaint because these claims are so related to the federal claims that they

 form part of the same case or controversy. See 28 U.S.C. § 1367.

 29.   Venue is proper in this district pursuant to § 3732(a) of the FCA, because at

 all times material hereto, Beaumont regularly conducted substantial business in the

 State of Michigan and maintained permanent employees and offices in the State of

 Michigan, within this judicial district. Additionally, venue is proper in this district

 pursuant to 28 U.S.C. § 1391(b)(1)-(2).




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                                      PARTIES

 30.   David Felten, M.D., Ph.D., is a renowned research physician whose

 contributions to neuroscience helped to establish the field of

 psychoneuroimmunology. Among other recognitions, Dr. Felten’s work earned

 him a MacArthur Foundation Prize Fellowship, two nominations for a Lasker

 Prize, and two 10-year MERIT awards from the National Institute on Aging and

 the National Institute of Mental Health.

 31.   Beaumont is a three-hospital system in Southeast Michigan that, at the time

 this complaint was originally filed, employed approximately 450 full-time

 physicians, had approximately 2,500 private practitioners with admitting

 privileges, and ranked second in the nation for the number of Medicare patients

 provided services.

 19.   Beaumont transacts business in Oakland County, Michigan and is subject to

 the personal jurisdiction of the Court.

                            FACTUAL ALLEGATIONS

 22.   When he first arrived at Beaumont, Dr. Felten was appointed the Medical

 Director of Beaumont’s Research Institute.




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 23.   Shortly thereafter, Dr. Felten became the founding Vice President, Research

 and later the founding Associate Dean for Research, Oakland University William

 Beaumont School of Medicine.

 24.   In these capacities, Dr. Felten served as a member of Beaumont’s

 Leadership Council, its Corporate Medical Leadership Group, its CMO Leadership

 Group, and its Medical Executive Counsel.

 25.   By 2006, Dr. Felten realized unlawful conduct in the form of unlawful

 kickback schemes was occurring at Beaumont. He began raising concerns in

 conversations with Beaumont executives and other representatives. Although

 Beaumont executives indicated they would investigate those issues, Dr. Felten

 perceived no change in Beaumont’s policies and practices that led to his initial

 concerns.

 26.   In fact, instead of correcting the issues, Dr. Felten was attacked by several

 prominent physician perpetrators of these unlawful practices who sought to have

 him fired. These attacks were directed first to Chief Medical Officer (CMO) Irwin,

 who had hired Felten, and then to CMO Diokno, who replaced Irwin as CMO and

 Felten’s supervisor.

 27.   In 2009, an outside auditor, FTI Healthcare (“FTI”), completed an outside

 audit report which confirmed that Beaumont’s staff, administration, and employees


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 were still receiving significant kickbacks from Beaumont in exchange for patient

 referrals.

 28.     Among other findings, FTI concluded that (1) the work of the equivalent of

 approximately 132 full-time employee physiciansat a cost of $16.3 million per

 yearcould not be accounted for, and (2) Beaumont had 56 gratuitous medical

 directorships with virtually no job descriptions, no performance standards, and no

 evaluations.

 29.     In June of 2010, at an executive retreat to discuss how to address the

 misconduct FTI had documented, Dr. Felten described to the entire group what he

 considered to be misrepresentations of research time on Medicare Cost Reports and

 Medicare Time and Effort Reports by Beaumont physicians.

 30.     Specifically, Dr. Felten explained that he had observed research time that

 was not deducted from these Medicare reports but instead “rolled up” into them, so

 that the federal government would improperly be reimbursing Beaumont for that

 work.

 31.     Dr. Felten’s outspoken criticism of Beaumont physician policies led to

 numerous instances of retaliation by Beaumont executives.

 32.     For example, each year beginning in 2010 and through Dr. Felten’s

 termination, the Research Institute’s budget from Beaumont for the following year


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 was sliced in half, but Dr. Felten was “expected” to accomplish the same things

 with half the funding.

 33.   Unable to stop the fraud, waste, and abuse that he witnessed and unwilling to

 be complicit in such corruption, Dr. Felten sought legal counsel and ultimately

 filed this case on August 30, 2010.

 34.   On or about February 23, 2011, Dr. Felten, through counsel, informed the

 United States Attorney’s Office that Beaumont’s Chief Operating Officer, Dr.

 Karen Carbone, had been terminated. Dr. Felten believed Dr. Carbone was likely

 terminated in retaliation for her own efforts to report the same instances of

 unlawful conduct that Dr. Felten had previously reported and which formed the

 basis of Dr. Felten’s whistleblower complaint.

 35.   Following Dr. Felten’s notification, the United States issued a Civil

 Investigative Demand (CID) for Dr. Carbone’s testimony.

 36.   Around the same time, the United States also issued a CID to Beaumont for

 documents returnable June 1, 2011.

 37.   At least by this point, Beaumont was aware that there was an open

 government investigation into its misconduct. Beaumont’s leadership became

 openly anxious to find and remove the whistleblower.




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 38.   During leadership meetings that Dr. Felten attended in mid-2011, he heard

 high-ranking Beaumont representatives state that, if Beaumont was the subject of a

 whistleblower lawsuit, they needed to “find the snitch” and “eliminate the mole.”

 39.   Certain Beaumont officials suspected at that time that Dr. Felten might be

 the “snitch.”

 40.   In fact, Dr. Felten overheard Beaumont officials suggest that he might be the

 whistleblower and that, if he were, the results for Beaumont could be disastrous.

 Specifically, the speaker said words to the effect of, “can you imagine what would

 happen if it is someone like David Felten, with all that he knows and all of his

 paperwork?”

 41.   Dr. Felten also recently learned that Beaumont searched his personal

 belongings during this period without his knowledge, at which point it certainly

 became aware that he was a whistleblower.

 42.   Beaumont had in its possession two printouts Dr. Felten had created in 2012

 and 2013 of privileged, personal gmail communications with his counsel. The

 only way Beaumont could have accessed this information was through searching of

 Dr. Felten’s personal belongings or personal computer.

 43.   Thus, Beaumont had identified Dr. Felten as a whistleblower by late 2012.




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 44.   Once Beaumont knew Dr. Felten was the “snitch,” Beaumont’s retaliation

 efforts increased.

 45.   By fall 2012, it was clear to Dr. Felten that Beaumont was seeking to oust

 him for “interfering” with its plan to “keep the doctors happy” by providing them

 with kickbacks and other unlawful payments.

 46.   At that time, Beaumont hired a friend of its CMO to “evaluate” the Research

 Institute that Dr. Felten oversaw.

 47.   That evaluator conducted two days of interviews with physicians and

 Beaumont officials who had complained about Dr. Felten’s refusal to go along

 with their illegal practices.

 48.   During that interview, the evaluator informed Dr. Felten that the evaluator’s

 assigned task was to look for decisions or judgments Dr. Felten had made that

 could be used to justify his removal from Beaumont. But the evaluator found none.

 49.   Also during that interview, Dr. Felten laid out his concerns about corruption

 and illegal misconduct at Beaumont.

 50.   In his formal report on October 4, 2012, the evaluator stated: “Although I

 have been around the block a few times, I don’t think even I could be successful as

 [Dr. Felten] without a much stronger degree of support from all levels.”




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 51.   And despite acknowledging that he was tasked with finding justification to

 oust Dr. Felten, the evaluator concluded that, “[w]hat I am certain of is that if all

 [Beaumont does] is switch out the leader [of the Research Institute], you will either

 be back to your current state in a short time or have a happy group of investigators

 who may put the institution in harm’s way. If [Dr. Felten] was in my shop, I would

 personally mentor him, fully support his position on research ethics and

 compliance[,] and personally take some of the lumps he is taking on by himself . . .

 .”

 52.   Unhappy with the results of this report, Beaumont leadership decided to

 distort them. During a leadership meeting in late October of 2012, with most or all

 of Beaumont’s executives present, Beaumont’s CMO distributed a summary of this

 report falsely stating that the evaluator had concluded Beaumont needed to

 significantly improve its “research leadership”i.e., to replace Dr. Felten.

 53.   Dr. Felten objected to these false claims and requested that the full report be

 distributed. But that did not prevent Beaumont from continuing to search for

 pretextual reasons to terminate Dr. Felten.

 54.   Shortly after this incident, in December 2012, Beaumont’s CMO falsely

 represented to Dr. Felten that his position was subject to mandatory retirement at

 age 65.


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 55.     Dr. Felten’s 65th birthday was on February 27, 2013, just a few months

 away.

 56.     Dr. Felten questioned whether any mandatory retirement policy applied to

 his position, but the CMO insisted the rule applied to Dr. Felten. He then stated

 that Beaumont would “generously” allow Dr. Felten to remain at Beaumont for a

 few additional months, through June 2013.

 57.     Dr. Felten had no plans to stop working at age 65, so he asked whether

 Beaumont would make an exception to this rule.

 58.     The CMO stated that Beaumont’s leadership declined to make any exception

 for Dr. Felten.

 59.     Dr. Felten next sent Beaumont a formal written request to extend his tenure

 from the supposedly-mandatory retirement in early 2013 to December 31, 2014.

 60.     The CMO informed Dr. Felten that his written request had been rejected by

 Beaumont’s Board of Directors.

 61.     Dr. Felten later learned from Beaumont’s Vice President of Human

 Resources that his position was not subject to mandatory retirement, a fact the

 CMO also admitted when Dr. Felten confronted him with the falsehood.




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 62.    With the false assertion corrected, Dr. Felten informed both the Vice

 President of Human Resources and the CMO that he had no intention of retiring

 that early.

 63.    Despite this, Beaumont informed Dr. Felten in December 2013 that his

 “request” to retire in December 2014 was being “honored.”

 64.    At that time, Beaumont instructed him to stop work immediately

 effectively suspending himalthough his salary and benefits would be paid

 through December 2014.

 65.    Dr. Felten explained that he had no desire to retire and that he had only sent

 his request to extend his tenure through December 2014 when, based on the false

 representations by Beaumont’s CMO, he had incorrectly believed he would be

 forced to retire ten months before that time.

 66.    Beaumont refused to acknowledge this history and moved forward to

 suspend and terminate Dr. Felten.

 67.    In short, Beaumont’s suspension and termination of Dr. Felten was based on

 multiple pretexts—first, based on the false claim that he was subject to mandatory

 retirement, and then, after he discovered that was false, based on the false pretense

 of honoring a “request” that he had withdrawn and that Beaumont itself had

 already rejected.


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                      BEAUMONT PREVENTS DR. FELTEN
                      FROM MITIGATING HIS DAMAGES

 68.   Beaumont’s interference with the terms and conditions of Dr. Felten’s

 employment did not end with his suspension and eventual termination.

 69.   After Beaumont suspended him, Dr. Felten immediately began to look for

 other work.

 70.   But despite his impeccable resume and distinguished career, Dr. Felten’s

 application was rejected nearly forty times by institutions across North America

 from February 2014 through 2017.

 71.   The only plausible explanation for the rejection of Dr. Felten’s application

 by all of these institutions is that Beaumont intentionally maligned Dr. Felten to

 these institutions in retaliation for his reports of its unlawful conduct.

 72.   Dr. Felten eventually secured employment as Associate Dean of Clinical

 Sciences and Professor of Neurosciences at the University of Medicine and Health

 Sciences in St. Kitts, at less than half of his Beaumont salary.

 73.   Due to the loss of Dr. Felten’s salary, he and his wife were forced to sell

 intellectual property they owned, drain their retirement accounts, and sign up early

 for Social Security benefits.

 74.   Dr. Felten’s damages are continuing.



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                                     COUNT III

                    Violation of 31 U.S.C. § 3730 – Retaliation

 75.   Dr. Felten incorporates and restates the allegations in the previous

 paragraphs of this First Amendment to his Complaint as if fully set forth herein.

 76.   Dr. Felten was an employee of Defendant Beaumont at the time that he

 alerted Beaumont that its physicians, staff, administrators, and employees were

 engaged in unlawful conduct in violation of state and federal law.

 77.   Dr. Felten was also an employee of Beaumont at the time that he filed this

 lawsuit alerting the United States and the State of Michigan to the unlawful

 conduct he observed.

 78.   In retaliation for Dr. Felten engaging in the protected conduct of reporting

 both internally and through this lawsuit the unlawful kickbacks, Medicare fraud,

 and other illegal activity he witnessed at Beaumont detailed above and in his

 Original Complaint, Beaumont suspended and ultimately terminated Dr. Felten.

 79.   When Dr. Felten raised concerns about the unlawful conduct internally,

 Beaumont sought to silence him by harassing him; making false statements about

 his effectiveness as a leader; targeting the institution he ran; and manufacturing

 pretextual reasons to suspend and ultimately terminate him.




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 80.   Once it suspected he was a whistleblower, Beaumont sought to force Dr.

 Felten out of his job, first by seeking to terminate him under the false pretense that

 he was subject to mandatory retirement and then by suspending and ultimately

 terminating him under the false pretense that he had asked to resign his position.

 81.   Furthermore, upon information and belief, Beaumont sought to prevent Dr.

 Felten from finding employment at research institutions across North America in

 retaliation for his protected conduct.

 82.   Beaumont’s actions violated Dr. Felten’s rights pursuant to 31 U.S.C.

 § 3730(h) to be protected from being “discharged, demoted, suspended, threatened,

 harassed, or in any manner discriminated against” in the terms and conditions of

 his employment because of his lawful acts of reporting illegal activity.

 83.   As a result of Beaumont’s actions, Dr. Felten has suffered damages in an

 amount to be shown at trial.

 84.   And under 31 U.S.C. § 3730(h), Dr. Felten is entitled to “all relief necessary

 to make [him] whole . . . .”

                                      COUNT IV

                    Violation of M.C.L § 400.610c– Retaliation

 85.   Dr. Felten incorporates and restates the allegations in the previous

 paragraphs of this First Amendment to his Complaint as if fully set forth herein.


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 86.   Dr. Felten was an employee of Defendant Beaumont at the time that he

 alerted Beaumont that its physicians, staff, administrators, and employees were

 engaged in unlawful conduct in violation of state and federal law.

 87.   In retaliation for Dr. Felten initiating, assisting in, and participating in this

 action under the Michigan False Claim Act, Beaumont sought to force him from

 his position, and ultimately suspended and terminated his employment because he

 reported Beaumont’s unlawful conduct.

 88.   Further, upon information and belief, Beaumont also sought to prevent Dr.

 Felten from finding employment at research institutions across North America in

 retaliation for his involvement in this action.

 89.   Beaumont violated Dr. Felten’s rights pursuant to M.C.L § 400.610c by

 threatening, harassing, and in other ways discriminating against Dr. Felten because

 he engaged in lawful acts, including initiating, assisting in, or participating in the

 furtherance of this action under the Michigan Medicare False Claims Act.

 90.   As a result of Beaumont’s actions, Dr. Felten has suffered damages in an

 amount to be shown at trial.

                                PRAYER FOR RELIEF

       WHEREFORE, Relator David L. Felten prays for judgment:

   (a) awarding Dr. Felten damages in the form of twice the amount of his back pay,
       interest on such back pay, compensation for all special damages, and all other

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       relief to which he is entitled as a result of Beaumont’s violations of 31 U.S.C.
       § 3730(h) and M.C.L § 400.610c;

   (b) awarding Dr. Felten his litigation costs and reasonable attorney’s fees; and

   (c) granting such other relief as the Court may deem just and proper.

                    Respectfully submitted this 27th day of August, 2018,

                                 /s/ Julie K. Bracker
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